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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF WEST VIRGINIA
JAN = 4 2016

TERESA L. DEPPNER, CLERK
U.S. District Court
STANDING ORDER IN RE: Southern District of West Virginia

ASSIGNMENT AND REFERRAL OF
CIVIL ACTIONS AND MATTERS TO MAGISTRATE JUDGES

DISCOVERY

Pursuant to Title 28, United States Code, Section 636, it is hereby ORDERED that all
discovery disputes in civil cases, including those which arise post-judgment (e.g., interrogatories
in aid of execution, judgment debtor examinations, motions to compel answers to suggestions),
shall be referred as follows:

For the Beckley and Bluefield Divisions, to the Honorable Omar J. Aboulhosn, United
States Magistrate Judge;

For the Huntington Division, to the Honorable Cheryl A. Eifert, United States Magistrate
Judge;

For the Charleston Division, to the Honorable Dwane L. Tinsley, United States
Magistrate Judge.

CIVIL MATTERS (JURY OR NON-JURY) ASSIGNED FOR ALL PROCEEDINGS
UPON CONSENT

Actions in which all parties have consented to proceed before a magistrate judge upon the
execution of a written Consent in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 7 are
assigned as follows:

For the Beckley and Bluefield Divisions, to the Honorable Omar J. Aboulhosn, United
States Magistrate Judge;

For the Huntington Division, to the Honorable Cheryl A. Eifert, United States Magistrate
Judge;

For the Charleston Division, to the Honorable Dwane L. Tinsley, United States
Magistrate Judge.
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SOCIAL SECURITY CASES

All actions for judicial review of an administrative determination under the Social
Security Act are referred for total pretrial management and submission of proposed findings of
fact and recommendations for disposition to the magistrate judges of the Southern District of
West Virginia on an equal rotational basis as the actions are filed without regard to the divisional
office in which they are filed.

Applications for award of attorneys’ fees and expenses under the Social Security Act or
the Equal Access to Justice Act shall be acted upon by the Magistrate Judge who received the

initial case referral.

HABEAS PROCEEDINGS

All actions filed by persons who are proceeding pro se or with counsel pursuant to
28 U.S.C. §§ 2241, 2254, or 2255, whether incarcerated or not, are referred for total pretrial
management and submission of proposed findings of fact and recommendations for disposition to
the magistrate judges of the Southern District of West Virginia on an equal rotational basis as the

actions are filed without regard to the divisional office in which they are filed.

ALL OTHER CIVIL ACTIONS FILED BY PERSONS PROCEEDING PRO SE

All other civil actions filed by persons proceeding pro se, and that are not covered above,
are referred for total pretrial management and submission of proposed findings of fact and
recommendations for disposition as follows:

For the Beckley and Bluefield Divisions, to the Honorable Omar J. Aboulhosn, United
States Magistrate Judge;

For the Huntington Division, to the Honorable Cheryl A. Eifert, United States Magistrate
Judge;

For the Charleston Division, to the Honorable Dwane L. Tinsley, United States
Magistrate Judge.
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ALL OTHER CIVIL ACTIONS IN WHICH DEFENDANTS PROCEED PRO SE

For all other civil cases in which a defendant or defendants make a pro se appearance
following referral of discovery disputes to a magistrate judge, the presiding judicial officer will
determine if the case will be referred to the magistrate judge for pretrial management and
submission of proposed findings of fact and recommendations for disposition, in total or in part,
as follows:

For the Beckley and Bluefield Divisions, to the Honorable Omar J. Aboulhosn, United
States Magistrate Judge;

For the Huntington Division, to the Honorable Cheryl A. Eifert, United States Magistrate
Judge;

For the Charleston Division, to the Honorable Dwane L. Tinsley, United States
Magistrate Judge.

This Standing Order is effective for all cases filed January 1, 2016, and after. The Clerk

is directed to enter this Standing Order and post the same to the Court's website.

ENTER:

Mt Wd

ROBERT C. CHAMBERS, CHIEF JUDGE

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OSA GOODWIN, JUDGE

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DAVID A. FABER, SENIOR JUDGE

